Case 1:07-cr-00006-PLM        ECF No. 498, PageID.3116      Filed 10/14/08    Page 1 of 1




                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION




UNITED STATES OF AMERICA,

               Plaintiff,
                                                        CASE NO. 1:07-CR-06
v.
                                                        HON. ROBERT HOLMES BELL
ALFRED LEE WILLIAMS,

               Defendant.
                                   /


                       MEMORANDUM OPINION AND ORDER

      This matter is before the Court on defendant’s Motion for Modification or

Reduction of Sentence Pursuant to 18 U.S.C. §3582(c)(2) (docket #493). The U.S.

Probation Officer’s Report of Eligibility (docket #496) indicates defendant appeared to be

ineligible because cocaine base was not used to determine the base offense level.

      Based on a review of defendant’s motion and the underlying criminal file, the

Court has determined that the motion should be denied for the reason that defendant’s

offense level calculation involved powder cocaine and marijuana, and not cocaine base.

Accordingly,

      IT IS HEREBY ORDERED that the Motion for Modification or Reduction of

Sentence is DENIED because defendant is not eligible.




DATED:     October 14, 2008              /s/ Robert Holmes Bell
                                         ROBERT HOLMES BELL
                                         UNITED STATES DISTRICT JUDGE
